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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF MAINE

JO JORGENSEN, Libertarian Party of Maine
Candidate for U.S. President,


                                 Plaintiff,

                                                   Case No.
v.

                                                   COMPLAINT FOR INJUNCTIVE,
MATTHEW DUNLAP, in his official                    DECLARATORY, AND OTHER RELIEF
capacity as the Secretary of the State of
Maine.


                                Defendant.




                                        INTRODUCTION

1.      Plaintiff Jo Jorgensen, the Libertarian Party of Maine candidate for U.S. President, by

and through her counsel, Barnes Law, and pursuant to the First and Fourteenth Amendments to

the United States Constitution, and 42 U.S.C. § 1983, states the following complaint for

declaratory judgment and permanent, preliminary, and emergency injunctive relief against

Matthew Dunlap, in his official capacity as the Secretary of State of Maine, to restrain him, in

this election only as a result of the COVID-19 pandemic, from enforcing in full the petition

signature requirements for independent candidates to the U.S. presidency found at 21-A M.R.S.

§§ 353 and 354(5)(A). Plaintiff requests this Court, in light of the COVID-19 pandemic, lower

the petition signature requirement found in 21-A M.R.S. § 354(5)(A) from 4,000 to 2,000.


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                                            PARTIES

2.      Plaintiff Jo Jorgensen is the Libertarian Party of Maine (“LPME”) candidate for U.S.

President, a petition circulator and voter. The LPME is a political party and the Maine affiliate of

the national Libertarian Party that seeks to have its candidate for U.S. President on the Maine

ballot for the 2020 general election.

3.      Defendant Matthew Dunlap is the Secretary of State of Maine and is charged with

enforcing and administering Maine election laws, including the petition signature requirements

for independent candidates for the 2020 general election.

4.      Defendant Dunlap is specifically empowered by Maine statute to determine if

independent candidates for the U.S. presidency have collected the required number of valid

signatures necessary to secure access to Maine‟s 2020 general election ballot.

5.      At all relevant times herein, Defendant Dunlap was engaged in state action under the

color of state law.

6.      Defendant Dunlap is being sued in his official capacity for declaratory and injunctive

relief under 42 U.S.C § 1983 and 28 U.SC. § 2201, as well as costs and attorney‟s fees under 42

U.S.C. § 1988(b).

                                 JURISDICTION AND VENUE

7.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.

8.      Plaintiff‟s claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§

2201 and 2202, Rules 57 and 65 of the Federal Rules of Civil Procedure, and the general legal

and equitable powers of this Court.




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9.       Venue is proper in this District under 28 U.S.C. § 1391(b) because the Defendant resides

in this judicial district and because a substantial part of the events or omissions giving rise to

Plaintiff‟s claims occurred in this judicial district.

                                                   FACTS

      A. The COVID-19 Pandemic and Maine’s Response

10.      In December 2019, an outbreak of respiratory disease caused by a novel coronavirus

emerged in Wuhan, China. It is an infectious disease, now known as “COVID-19,” that can

spread from person to person and can result in serious illness and death. According to the

Centers for Disease Control and Prevention, older adults (particularly those over 65) and people

of any age who have serious underlying medical conditions (including asthma, heart disease,

cancer, and diabetes) may be at higher risk for severe illness from COVID-19.

11.      On January 30, 2020, after the coronavirus outbreak had spread well beyond China, the

World Health Organization (WHO) declared that COVID-19 constituted a Public Health

Emergency of International Concern. 1 The next day, as a result of confirmed cases of COVID-

19 in the United States, Health and Human Services Secretary Alex M. Azar II declared a

nationwide public health emergency retroactive to January 27, 2020.2

12.      Immediately thereafter, public health officials in the United States began taking

aggressive measures to stop the spread of the disease. They began to warn the public about the

possibility of severe disruption from COVID-19 outbreaks in the United States, and they urged




1
  World Health Organization Newsroom; (January 30, 2020); Statement on the second meeting of the International
Health Regulations (2005) Emergency Committee regarding the outbreak of novel coronavirus (2019-nCoV)
(https://www.who.int/news-room/detail/30-01-2020-statement-on-the-second-meeting-of-the-international-health-
regulations-(2005)-emergency-committee-regarding-the-outbreak-of-novel-coronavirus-(2019-ncov)).
2
  Health and Human Services Press Office; (January 31, 2020); Secretary Azar Declares Public Health Emergency
for United States for 2019 Novel Coronavirus (https://www.hhs.gov/about/news/2020/01/31/secretary-azar-declares-
public-health-emergency-us-2019-novel-coronavirus.html).

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cities and towns to begin preparing for social-distancing measures like school closures and

meeting cancellations.

13.     On March 11, the World Health Organization declared COVID-19 to be a global

pandemic. 3 Two days later, the President of the United States declared a national emergency

(retroactive to March 1, 2020) due to the COVID-19 outbreak in the United States.4

14.     On March 15, 2020, Maine Governor Janet T. Mills proclaimed a state of emergency

authorizing the Governor to exercise emergency powers in order to expand and expedite Maine‟s

response to the threats posed by COVID-19.5

15.     On March 18, 2020, Governor Mills issued Executive Order 14 FY 19/20 ordering that

gatherings of more than 10 people were prohibited throughout the state.6 Gatherings subjected to

this Order were those that were primarily social, personal and discretionary events other than

employment. Id. Such gatherings included, without limitation, community, civil, public, leisure,

and faith-based events; social clubs; sporting events with spectators; concerts, conventions,

fundraisers, parades, fairs, and festivals; and any other similar event or activity in a venue such

as an auditorium stadium, area, large conference room, meeting hall, theater, gymnasium, fitness

center or private club. Id. The Order further closed all restaurants‟ and bars‟ dine-in facilities.

The Order made no exceptions for First Amendment activity. Id.



3
  World Health Organization; (March 11, 2020); WHO Director-General’s opening remarks at the media briefing on
COVID-19 (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-
on-covid-19---11-march-2020).
4
  White House; (March 13, 2020); Proclamation on Declaring a National Emergency Concerning the Novel
Coronavirus Disease (COVID-19) Outbreak (https://www.whitehouse.gov/presidential-actions/proclamation-
declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/).
5
  Maine.gov; (March 15, 2020); Proclamation of State of Civil Emergency to Further Protect Public Health
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/Proclamation%20of%20State%20of%20Civil%20Emergency%20To%20Further%20Protect%20Public%20He
alth.pdf).
6
  Maine.gov; (March 18, 2020); An Order to Protect Public Health
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/EO%2014%20An%20Order%20to%20Protect%20Public%20Health.pdf).

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16.    On March 23, 2020, Governor Mills issued Executive Order 18 FY 19/20 extending,

among other things, the expiration dates and fees required by 29-A M.R.S. § 1406-A of all

driver‟s licenses, both commercial and noncommercial, and non-driver identification cards

required by 29-A M.R.S. § 1410 due to expire during the period of emergency until 30-days after

the termination of the emergency.7

17.    On March 24, 2020, Governor Mills issued Executive Order 19 FY 19/20 further

restricting commercial activity and public gatherings and extending public social distancing

requirements through more detailed regulation and definition of Essential and Non-Essential

Businesses and Operations.8 The social distancing order details the need for businesses covered

by the order to make all best efforts to implement and actively enforce social distancing

requirements in and around their facilities including but not limited to: (1) designate with

signage, tape, or by other means six-foot spacing for employees and customers in line to

maintain appropriate distance; (2) have hand sanitizer and sanitizing products readily available

for employees and customers; (3) implement separate operating hours for elderly and vulnerable

customers; and (4) post online whether a facility is open and how best to reach the facility and

continue services by phone or remotely. Id.

18.    On March 31, 2020, Governor Mills issued Executive Order 28 FY 19/20 containing a

“Stay at Home” Order, effective 12:01 AM on April 2, 2020, for all persons living in the State of

Maine ordering: Residents to stay at their homes or places of business or places of residence

except: (1) to conduct or participate in an Essential Activity (as defined therein by Executive


7
  Maine.gov; (March 23, 2020); An Order Extending Compliance Dates Under Certain Motor Vehicle Laws;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/EO%2018%20An%20Order%20Extending%20Compliance%20Dates%20Under%20Certain%20Motor%20Ve
hicle%20Laws.pdf).
8
  Maine.gov; (March 24, 2020); An Order Regarding Essential Businesses and Operations;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/An%20Order%20Regarding%20Essential%20Businesses%20and%20Operations%20_0.pdf).

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Order 28FY 19/20); (2) workers at Essential Businesses and Operations not required to close

pursuant to Executive Orders 19FY 19/20 could travel: (a) between their Homes and those

businesses and organizations; (b) to and from child care; and (c) to and from customers for the

purpose of delivering goods or performing services; and (3) workers of Non-Essential Businesses

and Operations under executive Orders 19FY 19/20 could travel: (a) between their Homes and

those Non-Essential Businesses for the purpose of engaging in Minimal Operations; and (b) to

and from customers for the purpose of delivering goods.9

19.     On April 3, 2020, Governor Mills issued Executive Order 34 FY 19/20 requiring

residents and non-residents traveling from outside the State to self-monitor and home quarantine

for a period of 14 days, and restricting the operation of hotels and lodging to housing only (a)

vulnerable populations; (b) health care workers, or other workers deemed necessary to support

public health, safety or critical infrastructure; (c) individual self-quarantine facilities as arranged

by the State; and (d) verifiable extenuating circumstances for the care and safety of residents as

otherwise approved by the state.10 The Order further instructed individuals from cities and

regions identified as COVID-19 “hot spots” such as the cities of Detroit, Chicago, and New York

and the States of New York, New Jersey and Connecticut to not travel to Maine. Id.

20.     On April 8, 2020, Governor Mills issued Executive Order 37 FY 19/20 temporarily

modifying certain in-person notarization and acknowledgement requirements permitting the act

of notarization and witnessing required by Maine law to be completed remotely via two-way



9
  Maine.gov; (March 31, 2020); An Order Regarding Furhter Restrictions on Public Contact and Movement,
Schools, Vehicle Travel and Retain Business Operations;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/Corrected%202_%20An%20Order%20Regarding%20Further%20Restrictions%20on%20Public%20Contact%
20and%20Movement%2C%20Schools%2C%20Vehicle%20Travel%20and%20Retail%20Business%20Operations_
0.pdf).
10
   Maine.gov; (April 3, 2020); An Order Establishing Quarantine Restrictions on Travelers Arriving in Maine;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-files/EO%2034.pdf).

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audio-video communication technology.11 However, Executive Order 37 FY 19/20 explicitly

excludes the acknowledgement, witnessing and the in-person notarization of the “administering

oaths to circulators of state or local direct initiative or referendum petitions and nomination

petitions of candidates for electoral office”, thereby exposing election related petition circulators

to an increased threat of contracting COVID-19. Id.

21.     On April 10, 2020, Governor Mills issued Executive Order 39 FY 19/20 postponing

Maine‟s 2020 primary election from June 2, 2020 to July 14, 2020 to “reduce the exposure to

COVID-19.”12 As part of Order 39 FY 19/20, Governor Mills also extended all relevant

statutory deadlines set in relation to the date of the elections to be automatically “reset to the new

election date of July 14, 2020.” Id.

22.     On April 29, 2020, Governor Mills issued Executive Order 49 FY 19/20, which extended

the emergency rules of Executive Orders 14, 19, 28 and 34 to May 31, 2020.13

23.     On May 29, 2020, Governor Mills issued Executive Order 55 FY 19/20, which, as part of

Governor Mill‟s Restarting Plan, relaxed the restriction on public gatherings from 10 to 50

persons and eased restrictions on restaurants and bars, but continued to encourage Mainers to

work from home when able and continue to limit their public movement and activities.14




11
   Maine.gov; (April 8, 2020); An Order Temporarily Modifying Certain In-Person Notarization and
Acknowledgement Requirements;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-files/EO37.pdf)
12
   Maine.gov; (April 10, 2020); An Order Modifying the Primary Election to Reduce Exposure to COVID-19;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/An%20Order%20Modyifying%20the%20Primary%20Election%20to%20Reduce%20Exposure%20to%20CO
VID-19.pdf).
13
   Maine.gov; (April 29, 2020); An Order to Stay Safer at Home;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/An%20Order%20to%20Stay%20Safer%20at%20Home.pdf).
14
   Maine.gov; (May 29, 2020); An Order to Further Implement the Restarting Plan;
(https://www.maine.gov/governor/mills/sites/maine.gov.governor.mills/files/inline-
files/An%20Order%20to%20Further%20Implement%20the%20Restarting%20Plan.pdf).

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      B. Maine’s Ballot Access Procedure for Independent Candidates

24.      Maine classifies general election candidates into two groups: Primary (Party) Candidates

and Non-Party Candidates.15

25.      A political party meeting the qualifications of 21-A M.R.S. c.5 is eligible to participate in

the primary election with the winning candidate from each qualified party automatically placed

on the general election ballot.16

26.      All other candidates, including independent candidates for the U.S. presidency, must

collect a certain number of valid signatures from registered Maine voters on nomination petitions

called Nomination by Petition (Non-Party), in order to secure access to the 2020 Maine general

election ballot.17

27.      Independent candidates seeking to qualify for Maine‟s 2020 general election ballot must

also file a Consent of Petition (Non-Party) Candidate.18

28.      Nomination petitions for independent candidates for the U.S. presidency may only be

circulated starting on January 1st of the year of the election.19

29.      Nomination petitions may only be signed by registered Maine voters.20

30.      Each voter signing a nomination petition “must personally sign their name in such a

manner as to satisfy the register of his municipality that he is a registered voter.” Additionally,

either the voter or the circulator of the petition must print the voter‟s name.21




15
   State of Maine 2020 Candidate’s Guide to Ballot Access at pp. 8-22.
16
   State of Maine 2020 Candidate’s Guide to Ballot Access at p. 8, 25.
17
   See, 21-A M.R.S. §§ 353, 354.
18
   See, 21-A M.R.S. § 355.
19
   See, 21-A M.R.S. § 354(6).
20
   See, 21-A M.R.S. § 354(2).
21
   See, 21-A M.R.S. § 354(3).

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31.     In Maine, access to the general election ballot through Nomination by Petition (Non-

Party) requires independent candidates for the U.S. presidency to collect a minimum of 4,000

and a maximum of 6,000 valid signatures to secure ballot access.22

32.     Collecting signatures by hand, on paper nomination petitions, is inherently burdensome,

labor-intensive and inefficient as a means of demonstrating voter support. Many signatures are

often invalidated due to illegibility, missing information and other mere technical defects. This

obligates candidates and political parties to collect at least 25% to 50% more signatures than

required, in order to account for those signatures that might be later invalidated. In fact, the

Maine statute recognizes that at least 50% additional signatures above the minimum required

should be collected by permitting the collection and filing of up to 6,000 signatures to meet the

minimum 4,000 valid signature threshold necessary to secure ballot access for independent

candidates for the U.S. presidency. Id.

33.     After signatures are collected the circulator of a nomination petition must verify by oath

or affirmation before a notary public or other person authorized by law to administer oaths or

affirmations that the circulator personally witnessed all of the signatures to the petition and that

to the best of the circulator‟s knowledge and belief each signature is the signature of the person

whose name it purports to be.23

34.     Nomination petitions for independent presidential candidates must be submitted to the

registrar (or clerk at the request or upon the absence of the registrar), for certification by 5 p.m.

on July 25 of the election year.24

35.     Once nomination petition signatures are certified, the nomination petition must then be

filed with Defendant no later than 5 p.m. on August 1st of the election year.25

22
   See, 21-A M.R.S. § 354(5)(A).
23
   See, 21-A M.R.S. § 354(7)(A).
24
   See, 21-A M.R.S. § 354(7)(B)&(C).

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36.      For a candidate to qualify for the ballot, a nomination petition must meet all of the

requirements set forth in 21-A M.R.S. §354.26

      C. Plaintiff’s Signature Gathering Efforts Hampered by the COVID-19 Pandemic

37.      Third parties and independent candidates for president in a normal election year have

access to significantly less resources, personnel, and equipment. Their campaigns rely on boots-

on-the-ground volunteer work and community outreach.

38.      The COVID-19 outbreak has made the already arduous path to ballot access for third

party and independent candidates for president now impossible.

39.      First, petition signatures are typically collected during the spring and summer at public

events and festivals. However, this year, due to the COVID-19 pandemic and ongoing social

distancing mandates from Governor Mills, the vast majority of public events scheduled for the

spring and summer in Maine were cancelled.27

40.      Second, general public reluctance to engage in the sort of physical contact required to

sign a petition has resulted in many of Plaintiff‟s petition circulators being immediately rejected

upon attempting to solicit signatures.

41.      Third, primary election day petitioning at the polling places typically represents an

outsized portion of Plaintiff‟s signature gathering efforts, but this year those efforts were

hampered by Governor Mills and the COVID-19 pandemic. The increased number of absentee

voters resulted in far fewer individual voters traveling to the polls and thus far less voters signing

petitions. Further, Governor Mills mandated that all petition circulators must stand outside the

polling place instead of at their usual tables indoors. This not only greatly hindered petition

25
   See, 21-A M.R.S. § 354(8)(A).
26
   See, 21-A M.R.S. § 354(9).
27
   Burnham, Emily; Bangor Daily News (April 29, 2020); Here’s a list of the Maine parades, festivals and concerts
that have been scrapped for 2020; (https://bangordailynews.com/2020/04/29/news/bangor/bangors-memorial-day-
parade-has-been-canceled/).

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circulators ability to intercept and solicit signatures from voters, but given the heavy rain that fell

across most of Maine that day, it led to the actual destruction of several petition sheets.

42.    Fourth, as a result of the COVID-19 pandemic and the Governor‟s executive orders in

response, Plaintiff‟s campaign was unable to hire enough professional petition circulators and

notaries. On more than one occasion, notaries and circulators refused to work citing that the

Governor had not opened up the state to the public. Additionally, on more than one occasion a

petition circulator was denied a hotel room due to the ongoing restrictions.

43.    Fifth, Maine‟s requirement that signature petitions be turned into each individual town

hall for certification prior to being turned in to the Secretary of State, has resulted in unnecessary

difficulties and hampered Plaintiff‟s ability to turn in signatures during the COVID-19 pandemic.

Due to the COVID-19 pandemic, many town halls are operating on reduced hours and interact

with the public by appointment only, with many closed entirely. Plaintiff‟s campaign has

collected signatures from more than 285 towns, but as a result of the COVID-19 pandemic,

ongoing social distancing restrictions, reduced town hall hours and days of operation, and

appointment-only mandates, the campaign has experienced significant delays and complications

in receiving the certified petition sheets, which further reduces the amount of signatures that will

be submitted to the Secretary of State.

44.    Plaintiff‟s campaign began its efforts to collect petition signatures as soon as it was able,

January 1, 2020; however, as a result of the above, Plaintiff‟s campaign was only able to collect

4,400 unverified petition signatures. Thus, Plaintiff believes, that absent relief from this Court,

once signatures are verified, she will not have enough signatures to qualify her to appear on

Maine‟s 2020 general election ballot.




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      D. U.S. Constitutional Law

45.      The First Amendment declares in no uncertain terms that Congress shall make no law

abridging the freedom of speech. U.S. Const. amend. I. See also Citizens United v. FEC, 558

U.S. 310, 336 (2010). This restriction against governmental power is applied to the states

through the Fourteenth Amendment. Reed v. Town of Gilbert, 135 S. Ct. 2218, 2226 (2015).

46.      “It is beyond debate that freedom to engage in association for the advancement of beliefs

and ideas is an inseparable aspect of the „liberty‟ assured by the Due Process Clause of the

Fourteenth Amendment, which embraces freedom of speech.” NAACP v. Alabama, 357 U.S.

449, 460 (1958).

47.      The Supreme Court has made clear, “whether the beliefs sought to be advanced by

association pertain to political, economic, religious or cultural matters … state action which may

have the effect of curtailing the freedom to associate is subject to the closest scrutiny” Id. at 460-

61.

48.      The right to “voluntary political association … is an important aspect of the First

Amendment freedom” that the Supreme Court “has consistently found entitled to constitutional

protection.” Lefkowitz v. Cunningham, 431 U.S. 801, 808 (1977).

49.      A person‟s ability to exercise their rights guaranteed under the First Amendment is

“[u]ndeniably enhanced by group association.” Buckley v. Valeo, 424 U.S. 1, 15 (1976) (quoting

NAACP v. Alabama, 357 U.S. at 460.

50.      Ballot restrictions that severely burden the right to vote and associate violate the First

Amendment to the U.S. Constitution. See Storer v. Brown, 415 U.S. 724, 728-29 (1974).

51.      Accordingly, “[p]recision of regulation must be the touchstone in an area so closely

touching our most precious freedoms. If the State has open to it a less drastic way of satisfying



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its legitimate interests, it may not choose a legislative scheme that broadly stifles the exercise of

fundamental personal liberties.” Kusper v. Pontikes, 414 U.S. 51, 59 (1973) (internal quotation

marks and citations omitted).

52.    Therefore, in recognizing that States must enact election codes for orderly, fair, and

honest elections, courts reviewing challenges to ballot access cases impose a flexible standard.

Burdick v. Takushi, 504 U.S. 428, 433-34 (1992). If the election regulation imposes a severe

burden, then the regulation must survive strict scrutiny. Id. at 434. By contrast, if the election

regulation imposes a light burden, rational basis or intermediate scrutiny applies. Id.

53.    Under the current conditions created by COVID-19, including a declared state of

emergency in the state, Governor Mill‟s Stay At Home Order, as well as a declared National

emergency, Maine‟s signature requirement imposes a severe burden on Plaintiff.

54.    This burden is compounded because of the various government recommendations that

individuals maintain at least six feet distance between them.

55.    In analogous situations, courts have extended voter registration deadlines in light of

natural disasters, such as hurricanes. See Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250

(N.D. Fla. 2016). In that court‟s analysis of the burden, the court noted that in the final week

before voter registration closed, an estimated 100,000 people were expected to register. Id. at

1257. But because of Hurricane Matthew, these potential voters were forced to flee the State. Id.

Thus, these potential voters could not vote because they were unregistered. Id. Florida‟s voter

registration statute imposed a severe burden that it could not justify. Id.

56.    Because the inability to register to vote meant these 100,000 people could not vote, the

court ruled that was a severe burden. Id.




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57.    Florida could not justify its severe burden because, similar to here, several other states

impacted by Hurricane Matthew either extended their voter registration deadlines or permitted

voter registration on Election Day. Id. Accordingly, under the flexible approach explained in

Burdick, the court ruled that under any standard, Florida could not justify its decision not to

extend voter registration in light of Hurricane Matthew. Id. at 1257-58; see also Ga. Coalition

for the Peoples' Agenda, Inc. v. Deal, 214 F. Supp. 3d 1344 (S.D. Ga. 2016) (ordering an

extension of voter registration deadline due to Hurricane Matthew because the loss of the right to

vote would be an irreparable harm and when balanced to the administrative burden of extending

registration deadline, the harm to voting rights outweighed the administrative burden).

58.    Accordingly, Maine does not have a compelling or even sufficiently important interest to

justify maintaining its 4,000-signature requirement in light of the current public health

emergency.

59.    At all times stated herein Defendant was acting under color of state law.

                                      CLAIMS FOR RELIEF

                                           COUNT ONE

  (Violation of First and Fourteenth Amendment Rights, Equal Protection – 1983 Action)

60.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs as if fully set forth herein.

61.    The First Amendment to the United States Constitution provides “Congress shall make

no law respecting an establishment of religion, or prohibiting the free exercise thereof; or

abridging the freedom of speech, or of the press; or the right of the people peaceably to

assemble, and to petition the Government for a redress of grievances.” U.S. Const. amend. I.




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62.    The First Amendment‟s guarantees of freedom of speech, freedom of the press, freedom

of assembly, freedom of religion, and freedom to petition for redress of grievances are applied to

the states and their political subdivisions under the Fourteenth Amendment to the United States

Constitution.

63.    Under 42 U.S.C. § 1983, every person who, under color of state law, subjects any citizen

of the United States to the deprivation of “rights, privileges, or immunities secured by the

Constitution and laws,” shall be liable to the injured party.

64.    Defendant‟s actions effectively prohibit Plaintiff from obtaining the required number of

signatures, and in turn, prevents her from having her name placed on the ballot in violation of her

freedom of speech and association, equal protection, and due process rights as guaranteed by the

First and Fourteenth Amendments, and as enforced by 42 U.S.C. § 1983.

65.    Because of the relevant Declarations of Emergency and Governor Mills‟ executive

orders, it is impracticable for Plaintiff and her campaign to obtain 4,000 verified petition

signatures.

66.    Because of the relevant Declarations of Emergency and Governor Mills‟ executive

orders, Maine‟s petition signature requirements are overly broad, in no way narrowly tailored,

and deprive Plaintiff of her First and Fourteenth Amendment Rights.

67.    Defendant has no governmental interest so compelling as to justify the denial of

Plaintiff‟s rights as guaranteed by the First and Fourteenth Amendments to the United States

Constitution.

68.    Defendant has less restrictive means by which his interests could be met.

69.    Plaintiff has no adequate legal, administrative, or other remedy by which to prevent or

minimize the continuing irreparable harm to her constitutional rights.



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70.      Plaintiff is therefore entitled to declaratory and permanent injunctive relief pursuant to 28

U.S.C. §§ 2201, 2202.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs ask this Court:

      A. To immediately issue a temporary restraining order, followed by a preliminary

injunction, and ultimately a permanent injunction, requiring Defendant, his officers, agents,

servants, employees, and attorneys, and any persons in active concert or participation with him,

to reduce the petition signature requirement found in 21-A M.R.S. § 354(5)(A) from 4,000 to

2,000.

      B. To enter a judgment declaring 21-A M.R.S. §§ 353 and 354(5)(A) as written violate the

First and Fourteenth Amendments to the U.S. Constitution as applied to independent candidates

during this particular election;

      C. To award Plaintiff her attorney‟s fees and costs pursuant to 42 U.S.C. § 1988; and

      D. To grant such other and further relief as the Court deems just and proper.




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                                         Respectfully submitted,

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